                       Case 4:11-cr-00270-BRW                   Document 55             Filed 08/03/12          Page 1 of 7
AO 245B       (Rev. 09/11) Judgment in a Criminal Case
              Sheet 1



                                          UNITED STATES DISTRICT COURT
                                                            Eastern District of Arkansas
                                                                        )
             UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                                                          )
                                  v.                                      )
                      JOHNNIE HOLMES                                      )
                                                                          )       Case Number: 4:11 CR00270-01 BRW
                                                                          )       USM Number: 38209-013
                                                                          )
                                                                          )       Eric R. Gribble
                                                                                  Defendant's Attorney
THE DEFENDANT:
~pleaded guilty to count(s)        _1_ _ _ _ _ _ _ _ _ _ _ _ _ _                      4tJt.1Ef~l~Jm~~!!R:!~imfiRR1TF-------------
O pleaded nolo contendere to count(s)                                             EASTERN DISTRICT ARKANSAS
  which was accepted by the court.
                                                                                           AUG 0 3 2012
0 was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended
 18 U.S.C. 1347 and 2              Aiding and Abetting Health Care Fraud, a                                  12/31/2009                   1
                                   Class C felony



       The defendant is sentenced as provided in pages 2 through           __7__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0 The defendant has been found not guilty on count(s)
0 Count(s)     -------------
                                                         0 is     0 are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in economtc circumstances.

                                                                           8/3/2012
                                                                          ""' oflmp~itioo ofJodg'"$J;             ~


                                                                          Signature of Judge




                                                                           BILLY ROY WILSON,                            U.S. District Judge
                                                                          Name and Title of Judge




                                                                          Date
AO 245B
                          Case 4:11-cr-00270-BRW
              (Rev. 09/11) Judgment in a Criminal Case
                                                                 Document 55            Filed 08/03/12           Page 2 of 7
              Sheet 4-Probation

                                                                                                            Judgment-Page       2    of         7
DEFENDANT: JOHNNIE HOLMES
CASE NUMBER: 4:11CR00270-01 BRW
                                                                  PROBATION
The defendant is hereby sentenced to probation for a term of :

 3 years, to be administered by the district where the defendant is a legal resident.




The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.
0        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
         as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
       If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments sheet of This judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)     the defendant shall support his or her dependents and meet other family responsibilities;
    5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
    6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
           substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
 10)       the defendant shallv.ermit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observe(! in plain view of the probation officer;
 11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
 13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or Rersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
AO 245B
                    Case 4:11-cr-00270-BRW
          (Rev. 09/11) Judgment in a Criminal Case
                                                     Document 55       Filed 08/03/12       Page 3 of 7
          Sheet 4A- Probation

                                                                                        Judgment-Page    3    of      7
DEFENDANT: JOHNNIE HOLMES
CASE NUMBER: 4:11CR00270-01 BRW

                                              ADDITIONAL PROBATION TERMS
 The defendant shall participate in the Location Monitoring Program for a period of 6 months to commence no later than 60
 days from the date of sentencing. During this time, the defendant is restricted to his residence from 6:00PM to 7:00AM.
                     Case 4:11-cr-00270-BRW            Document 55          Filed 08/03/12       Page 4 of 7
AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 4C - Probation
                                                                                            Judgment-Page _   _,_4_ of      7
DEFENDANT: JOHNNIE HOLMES
CASENUMBER: 4:11CR00270-01 BRW

                                        SPECIAL CONDITIONS OF SUPERVISION
 The defendant shall participate in the Location Monitoring Program for a period of 6 months to commence no later than 60
 days from the date of sentencing. During this time, the defendant is restricted to his residence from 6:00PM-7:00AM. The
 defendant will maintain a telephone at their place of residence without any feature or service that would interfere with the
 operation of the location monitoring equipment for the above period. The defendant may be required to wear a location
 monitoring device, which may include Radio Frequency, Global Positioning System or Random Tracking at the discretion
 of the U.S. Probation Office and shall abide by all technology requirements.

 The defendant shall follow all location monitoring procedures.

 The defendant shall participate, under the guidance and supervision of the probation officer, in a substance abuse
 treatment program which may include testing, outpatient counseling, and residential treatment. Further, the defendant shall
 abstain from the use of alcohol throughout the course of supervision.

 Pursuant to 12 U.S.C. §§ 1785 and 1829, the defendant shall not obtain employment in an institution insured by the FDIC
 or a Federal Credit Union or any government agencies.

 The defendant will disclose financial information upon request of the U.S. Probation Office, including, but not limited to,
 loans, lines of credit, and tax returns. This also includes records of any business with which the defendant is associated.
 No new lines of credit shall be established without prior approval of the U.S. Probation Office until all criminal penalties
 have been satisfied.
AO 245B
                       Case 4:11-cr-00270-BRW
           (Rev. 09/11) Judgment in a Criminal Case
                                                                   Document 55           Filed 08/03/12        Page 5 of 7
           Sheet 5 - Criminal Monetary Penalties
                                                                                                      Judgment- Page __5
                                                                                                                       __         of      7
DEFENDANT: JOHNNIE HOLMES
CASENUMBER: 4:11CR00270-01 BRW
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                          Fine                               Restitution
TOTALS             $ 100.00                                            $ 0.00                              $ 35,376.50


D The determination of restitution is deferred until             ---
                                                                        . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

'i£ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned P.ayment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664ti), all nonfederal victims must be paid
     before the United States is patd.

Name of Payee                                                              Total Loss*          Restitution Ordered Priority or PercentaKe
 Arkansas Blue Cross Blue Shield, Little Rock, AR                                 $35,376.50              $35,376.50       100%




TOTALS                               $                    35,376.50           $                35,376.50
                                                                                  ----------~----




 D    Restitution amount ordered pursuant to plea agreement $

 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U .S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 'i£ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
     ri/ the interest requirement is waived for the D fine 'i/ restitution.
      D the interest requirement for the              D   fine    D restitution is modified as follows:


 *Findings for the total amount oflosses are required under Chapters 109A, 110, llOA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April23, 1990.
          '   '          Case 4:11-cr-00270-BRW          Document 55     Filed 08/03/12       Page 6 of 7
AO 2458       (Rev. 09/11) Judgment in a Criminal Case
              Sheet SA- Criminal Monetary Penalties

                                                                                          Judgment-Page    6    of       7
DEFENDANT: JOHNNIE HOLMES
CASE NUMBER: 4:11CR00270-01 BRW

                       ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES
 Pursuant to the Mandatory Victims Restitution Act of 1996, the defendant is ordered to pay restitution in the amount of
 $35,376.50 to the U.S. District Clerk. Restitution shall be disbursed to the Arkansas Blue Cross Blue Shields, Little Rock,
 Arkansas. Restitution shall be payable immediately and any unpaid balance shall be payable during probation. Payment of
 any interest is waived. Beginning the first month of probation, payments will be 10 percent per month of the defendant's
 monthly gross income.
AO 245B
                        Case 4:11-cr-00270-BRW
          ' (Rev. 'o9i11) Judgment in a Criminal Case
                                                                     Document 55            Filed 08/03/12            Page 7 of 7
            Sheet 6 - Schedule of Payments

                                                                                                                Judgment- Page _      _,_7_ of           7
DEFENDANT: JOHNNIE HOLMES
CASE NUMBER: 4:11CR00270-01 BRW


                                                         SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    rJ/ Lump sum payment of$ -100.00
                                - - - - - - due immediately, balance due

                  not later than                                      , or
                  in accordance            D c,         D D,     D      E,or     rt/ F below; or
B    D Payment to begin immediately (may be combined with                      D C,        D D, or      ri{F below); or

C    D Payment in equal                               (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                            (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D    D Payment in equal                               (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                            (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    D Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    rJ/ Special instructions regarding the payment of criminal monetary penalties:
           Restitution shall be payable immediately and any unpaid balance shall be payable during probation. Payment of
           any interest is waived. Beginning the first month of probation, payments will be 10 percent per month of the
           defendant's monthly gross income.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financia1
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credlt for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




 D   The defendant shall pay the cost of prosecution.

 D   The defendant shall pay the following court cost(s):

 D   The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
